           Case 1:15-cv-01061-ML Document 56 Filed 11/19/18 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


AARON GEORGE GUZMAN                              §
& DANIEL W. JOHNSON                              §
                                                 §
                 Plaintiffs,                     §
                                                 §
v.                                               §    Civil Action No. 1:15-CV-01061-ML
                                                 §
TECHERTAIN, LLC D/B/A ONBUZZ,                    §
ALAN ELIAS, & DAVID VAN GORDER                   §
                                                 §
                 Defendants.                     §


                JOINT MOTION TO DISMISS CLAIMS WITHOUT PREJUDICE

       Plaintiff Daniel W. Johnson ("Johnson") and Plaintiff Aaron George Guzman ("Guzman")

intend hereby to dismiss their claims against the above Defendants without prejudice to refiling.

Accordingly, the parties file this Joint Motion to Dismiss Claims Without Prejudice.

           I.    JOINT MOTION TO DISMISS JOHNSON'S CLAIMS WITHOUT PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

respective counsel that each of Plaintiff Johnson's claims against the Defendants are hereby

voluntarily dismissed without prejudice to refiling, with each party to bear its own costs and fees.

The parties accordingly request that the Court enter an order of dismissal in the agreed-upon form

attached hereto as Exhibit A.

           II. JOINT MOTION TO DISMISS GUZMAN'S CLAIMS WITHOUT PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and their

respective counsel, pursuant to a confidential settlement agreement, that each of Plaintiff

Guzman's claims against the Defendants are hereby voluntarily dismissed without prejudice to




                                                 1
          Case 1:15-cv-01061-ML Document 56 Filed 11/19/18 Page 2 of 3




refiling, with each party to bear its own costs and fees. The parties accordingly request that the

Court enter an order of dismissal in the agreed-upon form attached hereto as Exhibit B.



Respectfully submitted,



 Isl Joseph M Leak (with permission)                Isl M Wilson Stoker
Joseph M. Leak, Esq.                                M. Wilson Stoker, Esq.
Babb Reed & Leak PLLC                               COKINOS I YOUNG
1003 Rio Grande Street                              Las Cimas IV
Austin, Texas 787                                   900 S. Capital of Texas Highway, Suite 425
Telephone: (512) 580-5014                           Austin, Texas 78746
Facsimile: (512) 857-0118                           Main: 512-476-1080
Email: jleak@brltexaslaw.com                        Fax: 512-610-1184
Attorney for Plaintiffs                             wstoker@cokinoslaw.com
                                                    Attorney for Defendants




                                                2
          Case 1:15-cv-01061-ML Document 56 Filed 11/19/18 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Motion was served on the
following counsel of record on November 19, 2018 through the CM/ECF system.

              Joseph Leak, Esq.
              Babb Reed & Leak PLLC
              1003 Rio Grande Street
              Austin, Texas 78701


                                                  Isl M Wilson Stoker
                                                  M. Wilson Stoker, Esq.




                                              3
